Plaintiff recovered a judgment of $10,000 against the city of Detroit. He brought garnishment proceedings against the Commonwealth-Commercial State Bank, which disclosed an indebtedness to the city of Detroit in the sum of $1,465,987. The only question is whether garnishment proceedings will lie. The rule in this State is fixed by statute (3 Comp. Laws 1915, § 12970). The method of collecting judgments against cities is by mandamus to compel *Page 67 
the proper city authorities to spread the tax to pay them.Griswold v. Common Council of Ludington, 117 Mich. 317.
Judgment is reversed.
FEAD, C.J., and NORTH, FELLOWS, WIEST, CLARK, McDONALD, and SHARPE, JJ., concurred.